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                   Exhibit 5
Second Affidavit of Constance Van Kley
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Constance Van Kley
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Attorneys for Plaintiffs


  UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                   HELENA DIVISION

 BOB BROWN; HAILEY SINOFF;
 and DONALD SEIFERT,
                                         Cause No.
                           Plaintiffs,   6:21-cv-92-PJW-DWM-BMM

             vs.
                                         Second Affidavit of
 CHRISTI JACOBSEN, in her                Constance Van Kley
 official capacity as Montana
 Secretary of State,

                      Defendant.
 Case 6:21-cv-00092-PJW-DWM-BMM Document 23-5 Filed 02/07/22 Page 3 of 4



STATE OF MONTANA     )
               : ss.
COUNTY OF MISSOULA )

     Constance Van Kley, being first duly sworn, deposes and states as

follows:

  1. I am over 18 years old and a resident of Missoula, Montana. The

     matters set forth in this Affidavit are based upon my personal

     knowledge.

  2. I am counsel of record in the above-captioned case and employed as

     Litigation Director for Upper Seven Law, which is headquartered

     in Helena, Montana.

  3. On    February    6,    2022,   I   visited   https://www.census.gov/

     quickfacts/MT. This web address is hosted on the official U.S.

     Census website.        The webpage shows 2020 Census data for

     Montana.     According to this webpage, the total population of

     Montana as of the 2020 Census is 1,084,225. According to this

     webpage, 6.7% of Montana residents are American Indian or Alaska

     Native.

  4. On February 6, 2022, I visited https://tribalnations.mt.gov/

     littleshell. This web address is hosted on the official Governor’s



Second Affidavit of Constance Van Kley                                     2
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     Office of Indian Affairs website. According to this webpage, the

     Little Shell Tribe of Chippewa Indians is a band of the Chippewa
     Indians headquartered in Great Falls, Montana, with 4,500
     members.

  5. On February 6, 2022, I                   visited https://www.census.gov/
     tribal/?st=30&aianihh=4345. This web address is hosted on the

     official U.S. Census website. On that webpage, I searched the

     database for "Turtle Mountain Reservation and Off'Reservation

     Trust Land." That search shows a map of land held in trust for the

     Turtle Mountain Band of Chippewa Indians, much of which is found

     in north-central and northeastern Montana.

Further Affiant Sayeth Naught.
                 +h
        this          day of February, 2022.


            Van

     Subscribed and sworn to before me this 1 'h day of February,
2A22 by Constance Van KIey.



      SOPHIA HIGHTOWER
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               of liontan.
             at ,{i$ouh, ilontrnr   Printed Name:
        My Commisrlon Explrcr
            May OO 2025
                                    Residing at:                            tw,51tr$
                                    My commission expires:
